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                UNITED STATES DISTRICT COURT
       NORTHERN DISTRICT OF TEXAS – FORT WORTH DIVISION
 MICHAEL CODY TORRES,                                      §
   Plaintiff,                                              §
                                                           §
 v.                                                        §
                                                           §
 CITY OF FORT WORTH, CLAUDIA ALFARO,                       §      Case No. 4:23-cv-60
 JOHNNY HOLLAND, STEVE CARPENTER,                          §
 ELIZABETH BECK,                                           §
   Defendants.                                             §
                                                           §

                       PLAINTIFF’S ORIGINAL COMPLAINT

        COMES NOW, Plaintiff Michael Cody Torres (“Plaintiff”) to seek relief

regarding an unconstitutional sound ordinance created by the City of Fort Worth and

enforced by peace officers and a city council member acting under the color of law

while violating Plaintiff’s free speech rights by prohibiting the use of amplification

in a public forum twice in June of 2022; the last event including Plaintiff’s arrest.

        As described herein, the defendants deprived Plaintiff of rights secured by the

United States and Texas Constitutions. Plaintiff seeks to invalidate or at least enjoin

the subject sound ordinance, and money damages from the defendants for their

infringement of Plaintiff’s rights, privileges and immunities as guaranteed by the

First and Fourteenth Amendments to the Constitution of the United States and

Article I § 6, 8, 27 of the Texas Constitution, as enforced under 42 USC § 1983.




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                                         I.        PARTIES

1.     Plaintiff Michael Cody Torres (“Torres”) is a street evangelist for Proclaiming

Christ Ministries under the auspices of the World Baptist Church and is a resident

of Paradise, Texas. He may be served through his counsel of record, the undersigned.

2.     Defendant City of Fort Worth (“City”) is a home-rule municipal corporation

existing under the Constitution and laws of the State of Texas and the Charter of the

City of Fort Worth, located in Tarrant County, Texas.

3.     Defendants Claudia Alfaro, Johnny Holland, and Steve Carpenter are Fort

Worth police officers and may be served at 200 Texas Street, Fort Worth, TX 76102.

They are being sued in their individual capacity.

4.     Defendant Elizabeth Beck is a member of the Fort Worth City Council

representing District 9 and may be served at 200 Texas Street, FW, TX 76102. She

is sued in her individual capacity.

                           II.    JURISDICTION AND VENUE

5.     This is a civil rights action arising from Defendant City of Fort Worth’s

unconstitutional prohibition on Plaintiff’s use of amplification at a public park in

Fort Worth without first obtaining a permit from the City of Fort Worth, followed

by Defendant Officers Alfaro, Holland, and Carpenter’s citation and arrest of

Plaintiff - a violation of Plaintiff’s right to freedom of speech, press, assembly,

association, and conscience.


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6.          This action is brought pursuant to 42 USC § 1983, and the First and Fourteenth

Amendments to the United States Constitution.

7.          Jurisdiction is founded upon 28 USC § 1331 and 1343(a)(3) and (4), and the

aforementioned statutory and constitutional provisions.

8.          Plaintiff further invokes the supplemental jurisdiction of this Court pursuant

to 28 USC § 1367 to hear and decide claims arising under state law.

9.          The Court has personal jurisdiction over the Defendants because they have

performed actions about which Plaintiffs complain within this District.

10.         Venue of this suit is proper in this Court under 28 U.S.C. § 1391(b) because

substantial events giving rise to the claims occurred within it.

     III.      LEGAL BACKGROUND – FORT WORTH NOISE ORDINANCE

11.         This dispute concerns the Fort Worth Municipal Code of Ordinances Chapter

23 Sec. 23-8, which regulates noise disturbances (“Noise Ordinance”). The Noise

Ordinance is attached as Exhibit A-1, and states in part (with underlining added):

            (d) Noise prohibited.
            (1) In addition to the other noise restrictions in this section, no person shall make, cause, suffer,
            allow or permit unreasonable noise in such a manner, or with such volume, intensity or duration,
            so as to disturb a reasonable person of ordinary sensibilities. A decibel level shall not be required
            for the enforcement of this subsection (d).
            (2) This subsection (d) is intended to apply to, but is not limited to, unreasonable noises in the form
            of the following.
            a. 1. Amplifiers in public ROW and on city property. The use of a bullhorn, loudspeaker or other
                 amplification is prohibited in the public right-of-way and on City of Fort Worth property,
                 unless permitted as an exception below.
                 2. Exceptions.
                     i. Public safety official while performing their duties;
                     ii. Persons with an outdoor event permit as described in § 20405 of the city code; and
                     iii. Persons with permission from pertinent city department director or designee.


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12.     Section 20-405 prohibits events at parks without a permit, stating:

        (a) It shall be unlawful for any person to hold, sponsor or cause to be held an event without first
        having obtained the applicable permit from the public events department or park and recreation
        department. All events in public parks shall be subject to Division 6 of this article.
        (b) This section shall apply to all aspects of permitting events in the city.
            (1) No permit shall be denied nor shall the applicant be given less favorable treatment as
            to time, manner or place based upon race, color, creed, religion, gender, domestic
            relationship status, parental status, sexual orientation, transgender, gender identity or
            gender expression, national origin or political affiliation of the applicant and/or the
            participants of the event.
            (2) No permit shall be denied nor shall the applicant be given less favorable treatment as
            to time, manner or place based upon the message of the event, nor based on the identity or
            associational relationships of the applicant and/or participants.
            (3) No permit shall be denied nor shall the applicant be given less favorable treatment as
            to time, manner or place based upon any assumption or predictions as to the amount of
            hostility which may be aroused in the public by the content of speech or message conveyed
            by the event, provided that reasonable accommodation as to time, manner and place may
            be required in order for the city to provide the resources necessary for police, fire and
            emergency services protection.
        (c) No permit shall be issued until a completed application, together with any additional
        information requested, is received by the outdoor events manager. The application must be in
        compliance with the regulations and requirements of this article.
        (d) The closure of any rights-of-way shall require a street closure permit from the transportation
        and public works department.


                                           IV.      FACTS

A. Summary

13.     In June 2022, Plaintiff attended a number of events to engage in

constitutionally protected free speech and was cited at two of them for using voice

amplification without a permit. Plaintiff made the officers involved aware of

previous City communications which admitted that the ordinance involved was

unconstitutional. At both events, Plaintiff was directed to limit his activities to a

specific area by police to use sound amplification technology. One of the citations

led to his arrest and the confiscation of his property.


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B. Background

14.     Plaintiff is one of the founders of Proclaiming Christ Ministries which

operates under the authority of the World Baptist Church and seeks to educate the

public about Christianity.

15.     Plaintiff’s organization operates a number of ministries and his actions on

behalf of the organization include preaching and speaking with others in public

locations while often holding signs and banners, exhibiting video footage, utilizing

amplification to communicate his message, and offering leaflets with information

concerning Christianity.

16.     Plaintiff exercises his speech and association rights with regard to matters of

great public concern locally, nationally, and internationally including matters

pertaining to sincerely held religious beliefs, religious freedom, and Christianity.

17.     Plaintiff has consistently and regularly preached in the public areas of the Fort

Worth Stockyards over the last two years on weekend nights, during public events,

and concurrent with various other public demonstrations.

18.     Prior to the events described here, Plaintiff researched Fort Worth Sound

Ordinances and discovered Fort Worth Municipal Code of Ordinances Chapter 23

Sec. 23-8 (attached as Exhibit A-1), which regulates loud unnecessary and unusual

noise, and noise disturbances (“Noise Ordinance”).




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19.     Sec. 23-8(d)(2)a1 of the Noise Ordinance prohibits “use of a bullhorn,

loudspeaker or other amplification…in the public right-of-way and on City of Fort

Worth property, unless permitted as an exception.”

20.     Plaintiff has spoken publicly with amplification in Fort Worth many times;

the City has not required a permit as described under § 20-405 to use amplification

in public places when reasonably exercising his right to speak freely about his faith.

21.     In addition, Plaintiff came to believe that the Sound Ordinance was

unconstitutional, in part because he became aware of a previous written exchange of

letters between street preacher Terry Fish and City Attorney Sarah Fullenwider that

began on November 27, 2017, when Fish sent a letter to Police Chief Fitzgerald and

City Attorney Sarah Fullenwider expressing concerns about the constitutionality of

the Noise Ordinance, particularly as it related to amplification. On February 21,

2018, Laetitia Coleman Brown, senior assistant City Attorney and Chief of the

Public Safety section replied to Fish’s attorneys ensuring them that the City would

not be enforcing the noise amplification provision of the Sound Ordinance and the

City planned to amend the Sound Ordinance to remove the ban on amplification

(“Letter”). The Letter is attached as Exhibit A-2.

22.     Though the Letter came with a proposed amendment to the Noise Ordinance

which appeared to be poised for passage in 2018, as of the time of this Complaint,

the Defendant City’s Noise Ordinance has yet to be amended.


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C. June 18, 2022 Event

23.     At the first event leading to a citation on June 18, 2022, Plaintiff was present

at an event held at a public city park. Plaintiff was not impeding the activities taking

place, but was using amplification to communicate his message to those in

attendance in the area designated by police. Fort Worth Police initially permitted

Plaintiff to use his amplification, but Defendant Officer Alfaro ultimately reversed

course and began to threaten Plaintiff with citation and arrest unless he discontinued

use of sound amplification.

24.     Plaintiff presented the city-issued Letter to Defendant Officer Alfaro as

clarification that the Noise Ordinance regarding amplification was not to be

enforced, but Alfaro refused to concede even when shown that the Letter was signed

by the City Attorney.

25.     Defendant Officer Alfaro gave citation GA064077 to Plaintiff for a violation

of code 23-8, listing “unreasonable noise amplifier” on the description of violations.

26.     Upon information and belief, the Fort Worth Police Department threatened

Plaintiff for his speech at the direction and instruction of Fort Worth City Council

member Elizabeth Beck, who was present at the event for at least some time, and is

thought to have given direction to Alfaro.




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D. June 25, 2022

27.     At the second event leading to Plaintiff’s arrest on June 25, 2022, Plaintiff

was confronted by Defendant Officers Holland and Carpenter. Defendant Officer

Holland informed Plaintiff that he could not use the sound amplifier because the

“Pride” event at which Plaintiff was speaking was not a political gathering. Though

Defendant Officer Holland should have known that the distinction was irrelevant,

Plaintiff told the officer that he used sound amplification at the Fort Worth

Stockyards regularly without a permit.

28.     Defendant Officer Holland inquired what decibel Plaintiff would be using,

again asking the question as though it was relevant or might inform the officer’s

actions, Plaintiff replied that he had no way of knowing that information. Plaintiff

asked if the officer had a decibel reader and learned that he did not, revealing that

the question was irrelevant in any case.

29.     In order for his message to be heard, given the distance and sound level of the

gathering, Plaintiff had to use reasonable sound amplification.

30.     Defendant Officers Carpenter and Holland then left, but shortly after Plaintiff

began to preach, a directed response unit swept in and without question or hesitation

seized Plaintiff and his property, arrested him, and took him to jail. A recording of

that activity is documented as Exhibit A-3, and is available upon request.




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31.     Defendant Officers Carpenter and Holland gave citation GA064077 to

Plaintiff for a violation of code 23-8, listing “unreasonable noise” on the description.

E. Additional Facts and Damages to Plaintiff

32.     At all material times, Plaintiff was peacefully exercising his constitutionally-

protected First Amendment rights to free speech, free press, free association,

conscience, and beliefs on matters of public concern in a traditional public forum.

33.     At all material times, Plaintiff acted lawfully, without interference, never

threatened any person, and never resisted any lawful order by any police officer.

34.     Defendants’ speech-related conduct, practices, policies and customs, and

Defendants’ arrest of Plaintiff had a chilling effect on Plaintiff’s free speech, press,

expression, and association rights, and further constitute content-based regulation of

Plaintiff’s speech, and prior restraint on protected expression and associations.

35.     Defendants’ actions, policies, and practices that constrain Plaintiff’s ability to

exercise his First Amendment rights are overbroad, not narrowly tailored to

accomplish any compelling interest of Defendants.

36.     Defendants’ conduct was objectively unreasonable under the circumstances.

37.     All Defendants, their employees, and agents, engaged in a concert of action

and joint venture to deny Plaintiff his rights to freedom of speech, press, association,

conscience, and beliefs through threats, intimidation, and coercion without




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Plaintiff’s consent and in furtherance of a common scheme to violate Plaintiff’s

aforementioned rights, with knowledge of the conspiracy and its unlawful purpose.

38.    Defendants’ conduct described herein was intended, and was reasonably

likely, to deter and chill Plaintiff’s exercise of clearly-established constitutionally-

protected rights and was in retaliation for Plaintiff’s political views and his exercise

of constitutionally-protected rights.

39.    Defendants’ conduct described herein had a chilling effect on Plaintiff’s

exercise of his First Amendment rights.

40.    At all material times, Defendants’ restrictions on Plaintiff’s protected First

Amendment activity were unreasonable as to time, place, and manner.

41.    Plaintiff’s exercise of his First Amendment rights to freedom of speech, press,

assembly, association, conscience, and beliefs, and the content and viewpoint of

Plaintiff’s protected expression, or perceived expression, was a substantial or

motivating factor for Defendants’ conduct.

42.    At all material times, the actions and omissions of each Defendant were

intentional, wanton, willful, conscience shocking, reckless, malicious, deliberately

indifferent to Plaintiff’s rights, done with actual malice, grossly negligent, and

objectively unreasonable.

43.    Each officer defendant was given the opportunity to ensure he was acting

within the boundaries of the United States Constitution. Plaintiff even tried to show


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these individuals the Letter, written by the City’s own attorney, which should have

been sufficient to inform them that they should act with more caution.

44.    The Defendant City of Fort Worth has currently sought to prosecute Plaintiff

for his actions by both citing and jailing him.

45.    Defendant City of Fort Worth and its officers have a policy and practice of

violating the constitutional rights of speakers using amplification in traditional

public fora within its boundaries.

           a. In 2017, the city and its officers threatened street preacher Terry Fish

               with citation and arrest for using amplification to communicate his

               protected religious message.

           b. In 2019, the city and its officers threatened and cited street preacher

               Ryan Roberts for using amplification to communicate his protected

               message based on his sincerely-held religious beliefs.

           c. Defendants acknowledged the problematic nature of its ordinance in a

               letter, but have yet to amend it, but continue to enforce it against

               persons exercising their First Amendment rights to speech and religion.

               (See Exhibit A-2.)




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46.    As a direct and proximate result of Defendants’ conduct, Plaintiff sustained

the following further injuries and damages:

       a. Mental suffering and emotional distress;

       b. Interference with and irreparable damage to his constitutional rights;

       c. All damages recoverable under 42 USC § 1983-88 and associated laws;

       d. Suppression of speech and interference with beliefs and associations.

47.    With regard to all the causes that follow against Defendants, Plaintiff alleges

that Defendants developed and maintained polices or customs exhibiting deliberate

indifference to the constitutional rights of persons using amplification at

demonstrations in Fort Worth, which violated Plaintiff’s rights, and which were

further supported by the deliberate instruction of Defendant City Council Member

Elizabeth Beck as to the unconstitutional enforcement of the Noise Ordinance.

48.    The policies and customs demonstrate a deliberate indifference, at the least,

by the policymakers at Defendant City of Fort Worth to protecting the constitutional

rights of people using amplification while demonstrating in Fort Worth, and those

policies and customs were the cause of the violations of Plaintiff’s rights.

49.    The undersigned sent a demand letter on November 14, 2022, seeking to

resolve this matter; the City has failed to respond as of the filing of suit. (Exh. A-4.)




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                                V.      CAUSES OF ACTION

A. Claim 1 – 42 USC § 1983 Violation of First Amendment and Fourteenth
   Amendment against all Defendants as-applied to Plaintiff

50.      Plaintiff’s religious expression, in the form of amplified speech, constitutes

protected speech under the Free Speech Clause of the First Amendment to the United

States Constitution.

51.      Under 42 U.S.C. §1983, “[e]very person who . . . subjects, or causes to be

subjected, any citizen of the United States or other person within the jurisdiction

thereof to the deprivation of any rights, privileges, or immunities secured by the

Constitution and laws, shall be liable to the party injured . . . .” 42 U.S.C. § 1983.

52.      Defendants City of Fort Worth and Officers Alfaro, Holland, and Carpenter,

in their individual capacity, acted under color of law when they threatened and then

enforced Fort Worth Municipal Code of Ordinances Chapter 23 § 23-8(d)(2) and

confiscated Plaintiff’s equipment, including his amplification equipment while he

was demonstrating in a public forum, depriving Plaintiff of the clearly-established

and well-settled constitutional rights protected by the First and Fourteenth

Amendments to the U.S. Constitution, specifically:

      a. The right to be free from interference with, or retaliation for, exercise of
         constitutionally protected rights, including speech, association, conscience,
         and beliefs, as secured by the First and Fourteenth Amendments;
      b. The right to be free from the deprivation of equal protection of the law as
         secured by the Fourteenth Amendment.


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53.    Fort Worth’s laws, policies and practices, including its application of Fort

Worth’s Sound Ordinance without a permit in traditional public fora, and the

enforcement thereof:

      a. are vague and overbroad;

      b. discriminate against speech because of its content and viewpoint;

      c. restrain constitutionally-protected speech in advance of its expression,

            without appropriate guidelines or standards to guide the discretion of

            officials charged with enforcing the policy;

      d. chill the free speech of Torres and other third-party citizens;

      e. allow for the exercise of unbridled discretion; and

      f. lack narrow tailoring, fail to achieve any legitimate government purpose,

            and fail to leave open ample alternative avenues for expression.

54.    Defendants City of Fort Worth and its officers have no compelling or

legitimate reason that can justify their restriction on Torres’s amplified speech.

55.    Aside from the two instances herein described, Defendant City of Fort Worth

has an established practice of violating clearly established First Amendment rights

of speakers using amplification in the city.

       a.       In 2017, the city’s officers threatened street preacher Terry Fish with

       citation and arrest for using amplifying his protected religious message.




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       b.      In 2019, the city and its officers threatened and cited street preacher

       Ryan Roberts for using amplification to communicate his protected message

       based on his sincerely-held religious beliefs.

56.    Defendants acknowledged the problematic nature of its ordinance, but have

yet to amend it, but continue to enforce it against persons exercising their First

Amendment rights to speech and religion. (See Exhibit A-2)

57.    Defendant City of Fort Worth has failed to properly train its officers with

regard to their duties to protect and not violate the constitutional rights of those

exercising them within the city’s boundaries.

58.    When presented on multiple occasions in the last few years with the scenario

of citizens using amplification to project their protected speech in a traditional public

forum, and even presented with a letter from the city’s attorney alerting the officers

that the ordinance they were claiming to enforce needed amendment, the officers

continued with their enforcement and arrest without regard to the rights clearly

imperiled by their behavior.

59.    These actions demonstrate a lack of training by the city of its officers to

understand the scope of First Amendment protections.

60.    Given that the city has been faced with this situation multiple times in recent

years and its officers continue to violate citizens’ rights, the municipality is clearly




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deliberately indifferent to the training problems and the lack of training has caused

the violation of Plaintiff’s and other citizens’ First Amendment rights to speech.

61.    Orally broadcasting these views is a protected method for disseminating them.

Heffron v. Int'l Soc'y for Krishna Consciousness, Inc., 452 U.S. 640, 647 (1981); see

Edwards, 372 U.S. at 236 (“religious harangue” protected). And because the right to

free speech means a right to be heard, the Constitution guarantees the right to use

amplification in public. Saia v. New York, 334 U.S. 558, 560-61 (1948); Reeves v.

McConn, 631 F.2d 377 (5th Cir. 1980) (“The right to communicate inherently

comprehends the right to communicate effectively”). Plaintiff’s expression

undeniably warrants full constitutional safeguarding.

62.    The United States Supreme Court has recognized that, “parks...have

immemorably been held in trust for the use of the public and, time out of mind, have

been used for purposes of assembly, communicating thoughts between citizens, and

discussing public issues. Such use has, from ancient times, been part of the

privileges, immunities, and liberties of citizens." Hague v. Committee for Industrial

Organization, 307 U.S. 496, (1939). Hill v. Colorado, 530 U.S. 703, 715 (2000);

Pleasant Grove City v. Summum, 555 U.S. 460, 129 S. Ct. 1125 (2009); Morgan v.

Plano Indep. Sch. Dist., 589 F.3d 740, 746 (5th Cir. 2009).




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63.    The Supreme Court forbade a government from requiring permits for use of

loudspeakers in public places with similar restrictions since at least 1948. Saia v.

New York, 334 U.S. 558 (1948).

64.    The Supreme Court has also held that in “quintessential public forums, the

government may not prohibit all communicative activity” and that content-based

restrictions on speech are highly suspect. Perry Education Association v. Perry

Local Educators' Association, 460 U.S. 37 (1983).

65.    Plaintiff was not disturbing the peace or quiet of any neighborhood or causing

discomfort or annoyance to any reasonable person of normal sensitivity residing in

the area or creating a noise disturbance. He was exercising his constitutional right to

free speech, which includes the right to be heard.

66.    In the facts at bar, Defendant City of Fort Worth and its officers violated

Plaintiff’s rights by enforcing a sound ordinance against Plaintiff in a public park to

quell constitutionally-protected speech because its content is offensive to some.

67.    Defendants’ laws, policies and practices, and the enforcement thereof, thus

violate the Free Speech Clause of the First Amendment to the United States

Constitution, made applicable to the states through the Fourteenth Amendment to

the United States Constitution.

68.    To stop the unconstitutional actions, Plaintiff asks the Court grant the

equitable and legal relief set forth in the prayer for relief.


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B. Claim 2 – The Fort Worth Sound Ordinance Violates the First Amendment
      and Fourteenth Amendment on its face, is invalid and void.

69.     As the text of § 20-405 shows, the permit process gives no standard by which

a person could predict that a permit might be granted or denied.

70.     A direct restriction on speech, § 23-8(d)(2) can only be upheld if it 1) is

content-neutral, 2) is narrowly tailored to serve a significant government interest,

and 3) leaves open ample alternative channels of communication. Perry Educ. Ass’n.

v. Perry Local Educators’ Ass’n., 460 U.S. 37, 45 (1983); accord Knowles v. City of

Waco, 462 F.3d 430, 434 (5th Cir. 2006). As a total ban of amplification in public

throughout the city, § 23-8(d)(2) fails this test.

71.     Fort Worth ordinance § 23-8(d)(2) is not narrowly tailored to a significant

interest because it “burden[s] substantially more speech than is necessary to further

the government's legitimate interests.” Ward v. Rock Against Racism, 491 U.S. 781,

798 (1989). Whatever interest Fort Worth may have in regulating excessive volume,

see Ward, 491 U.S. at 796, it has no valid interest in a total ban on amplification.

Saia, 334 U.S. at 562 (“The police need not be given the power to deny a man the

use of his radio in order to protect a neighbor against sleepless nights.”); Reeves, 631

F.2d at 385 (“An absolute and city-wide prohibition of all sound amplification

except during nine hours of the day cannot be viewed as narrowly tailored to further

the State's legitimate interest.”) (citation and quotation marks omitted).



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72.    In Reeves, the Fifth Circuit held that a Houston ordinance that banned

amplification in most public places for most hours of the day was not narrowly

tailored:

       Not every amplified sound at every time except Sunday afternoon will
       disrupt the normal business activity of the downtown district or make
       the streets unsafe. Precisely because the downtown district is already a
       busy and noisy place, reasonably amplified free speech is guaranteed a
       broad right to equal participation in these aspects of modern urban
       life…[T]here is probably no more appropriate place for reasonably
       amplified free speech than the streets and sidewalks of a downtown
       business district.

Id. at 384.

73.    Fort Worth ordinance § 23-8(d)(2) is even broader than the restriction

invalidated in Reeves, banning amplification at any volume on all city property at all

times. This plainly lacks any degree of tailoring. Like the City of Houston, Fort

Worth “may not broadly prohibit reasonably amplified speech merely because of an

undifferentiated fear that disruption might sometimes result.” Id. at 388.

74.    In addition to lacking tailoring, § 23-8(d)(2) fails to leave open ample

alternative avenues for Plaintiff, further condemning it. The First Amendment

guarantees the right of speakers to have ample opportunity to reach their intended

audience and win their attention. Heffron, 452 U.S. at 655; see Edwards v. City of

Coeur d'Alene, 262 F.3d 856, 866 (9th Cir. 2001) (ordinance that fails to allow

speaker to reach audience fails to leave ample alternatives). That Plaintiff may try in

vain to be heard over ambient noise does not provide ample alternatives. See Reeves,
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631 F.2d at 382 (“The mere existence of an alternative means of expression – in this

case, unamplified speech – cannot by itself justify a restraint on some particular

means that the speaker finds more effective”).

75.    Fort Worth Municipal Code of Ordinances Chapter 20 § 20-405 is

unconstitutionally vague as it fails to provide any time frame for applying for a

permit nor does it even stipulate a timeframe under which the City must review and

grant or deny a permit, or articulate any meaningful guidelines regarding what an

applicant must do or avoid in order to receive the permit, or under what conditions

amplification is even required to be permitted. Plaintiff had preached using

amplification in public fora many times in Fort Worth without receiving the

treatment he experienced here.

76.    Without a timeframe for submitting an application for a permit or a timeframe

by which permits must be granted or denied, this code is vague and

incomprehensible and allows for arbitrary responses or non-responses.

77.    The lack of submission timeframe also makes it clear that the code places a

prior restraint on spontaneous speech.

78.    As a direct and proximate result of Defendants’ acts and omissions, Plaintiff

sustained injuries as described supra.

79.    Plaintiff asks the Court to declare the Sound Ordinance unconstitutional,

invalid, and void with regard to the permitting of amplified speech.


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C. Claim 3 – Violation of Texas Constitution Article I § 8 Liberty of Speech
   against all Defendants

80.    Defendants City of Fort Worth, City Councilmember Elizabeth Beck, and

Officers Alfaro, Holland, and Carpenter, acted under color of law when they

threatened to enforce and subsequently arrested Plaintiff for use of his amplification

in a public forum thereby depriving Plaintiff of the clearly-established and well-

settled constitutional rights protected by Article 1, § 8 of the Texas Constitution.

“Every person shall be at liberty to speak, write or publish his opinions on any

subject . . .” Tex. Const. Art. I, § 8.

81.    As a direct and proximate result of Defendants’ acts and omissions, Plaintiff

suffered the deprivation of his rights guaranteed by the Texas Constitution and seeks

declaratory and equitable relief for such deprivations.

D. Claim 4 – Beck’s Ultra Vires direction to violate Plaintiff’s free speech

82.    Under the ultra vires doctrine, sovereign immunity does not prohibit suits

against a state official or officer of a state entity if the official’s actions were ultra

vires. City of El Paso v. Heinrich, 284 S.W.3d 366 (Tex. 2009). Heinrich held that

declaratory judgment claims alleging ultra vires actions are not barred by

governmental immunity, reasoning that ultra vires claims do not seek to control the

government, but rather to reclaim control from an official allegedly acting in

violation of the law. The Texas Supreme Court noted that “[t]o fall within this ultra

vires exception, a suit must not complain of a government officer’s exercise of
Torres v. City of Fort Worth, Original Complaint                              Page 21 of 24
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discretion, but rather must allege, and ultimately prove, that the officer acted without

legal authority or failed to perform a purely ministerial act.” Id., at 372.

83.    The Texas Supreme Court has held that an official acts without legal authority

when, “a government officer with some discretion to interpret and apply a law may

nonetheless act ‘without legal authority,’ and thus act ultra vires, if he exceeds the

bounds of his granted authority or if his acts conflict with the law itself.” Hous. Belt

& Terminal Ry. Co. v. City of Houston, 487 S.W.3d 154, 158 (Tex. 2016).

84.    The basic justification for this ultra vires exception to sovereign immunity is

that ultra vires acts—or those acts without authority—should not be considered acts

of the state at all. Cobb v. Harrington, 190 S.W.2d 709, 712 (Tex. 1945).

Consequently, “ultra vires suits do not attempt to exert control over the state—they

attempt to reassert the control of the state” over one of its agents. Hall v. McRaven,

508 S.W.3d 232, 238 (Tex. 2017) (citing Heinrich, 284 S.W.3d at 372).

85.    In Heinrich the Texas Supreme Court clarified that governmental entities

themselves are not proper parties to an ultra vires suit, but instead, a plaintiff must

sue the relevant officers in their official capacities. Heinrich, 284 S.W.3d at 372–73.

86.    An ultra vires claim based on actions taken “without legal authority” has two

fundamental components: (1) authority giving the official some (but not absolute)

discretion to act; and (2) conduct outside of that authority. Hous. Belt & Terminal

Ry. Co. v. City of Houston, 487 S.W.3d 154, 158 (Tex. 2016).


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87.    On June 18, 2022, City Councilmember Elizabeth Beck directed FWPD

Officers to unconstitutionally infringe on Plaintiff’s First Amendment rights relying

on her authority as a government agent, but acting outside the legitimate ambit of

her authority as a City Councilmember and ultimately causing Plaintiff’s damages.

E. Claim 5 --42 USC § 1983 Conspiracy by Defendants to Violate the First
   Amendment and Fourteenth Amendment, and Texas Constitution Art. I § 8

88.    Defendant City councilmember Elizabeth Beck’s communication to Officers

Alfaro, Holland, and Carpenter, was an express agreement between the City officials

to enforce Fort Worth Municipal Code of Ordinances Chapter 23 § 23-8(d)(2)a1

against Plaintiff for exercising his free speech based on the content of his speech.

89.    Defendants City of Fort Worth, City Councilmember Elizabeth Beck, and

Officers Alfaro, Holland, and Carpenter acted under color of law when they

threatened to enforce Fort Worth Municipal Code of Ordinances Chapter 23 § 23-

8(d)(2)a1 and thereby deprive Plaintiff of his rights under the United States and

Texas Constitutions, and are therefore liable to Plaintiff under 42 USC § 1983.

90.    Defendants City of Fort Worth, City Councilmember Elizabeth Beck, and

Officers Alfaro, Holland, and Carpenter participated in assisting one another in

executing the pre-textual sound permit policy at issue in this ligation to act to

threaten and arrest Plaintiff, which resulted in the deprivation of his Federal and

State Constitutional rights leading to Plaintiff’s damages.



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F. Claim 7 - Attorney Fees

91.      Plaintiff seeks reasonable attorney fees, which the Court may award at its

discretion. 42 U.S.C. § 1988; Hensley v. Eckerhart, 461 U.S. 424, 429 (1983).

                                 VI.       CONDITIONS PRECEDENT

92.      All conditions precedent have been met.

                                              VII. JURY TRIAL

93.      Plaintiff requests trial of all claims by jury.

                                                 VIII. PRAYER

Plaintiff prays that the Court grant Plaintiffs:

        a. A court order for declaratory and injunctive relief declaring that Chapter 23

             § 23-8(d)(2)a1 is unconstitutional on its face and as applied to Plaintiff;

        b. Award compensatory, general, and special damages against all Defendants;

        c. Costs of court and attorney’s fees;

        d. All other relief to which Plaintiff may be entitled in law and equity.

Respectfully submitted,

By: /s/ Warren V. Norred
Warren V. Norred, Texas Bar No. 24045094, warren@norredlaw.com
515 E. Border; Arlington, Texas 76010
P: 817-704-3984; F: 817-524-6686
Attorney for Plaintiff
Exhibits Attached:
Exhibit A Declaration of Michael Cody Torres.
Exhibit A-1 FW Ordinance Sec. 23-8(d)(2)
Exhibit A-2 Letter from City Attorney
Exhibit A-3 Video Recording June 25 (available on request)
Exhibit A-4 Demand Letter to City of Fort Worth


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                                           Declaration

“My name is Michael Cody Torres, my date of birth is November 12, 1994 and my address is 146
Private Road 3587, Paradise, Texas 76073, US. I declare under penalty of perjury under the laws
of the United States of America that the following is true and correct.”


1.      I am one of the founders of Proclaiming Christ Ministries which operates under the

authority of By The World Baptist Church and seeks to educate the public about Christianity.

2.      Proclaiming Christ Ministries operates a number of different types of ministries including

preaching in a variety of public locations. My speech and activities include holding signs and

banners, exhibiting video footage, utilizing loud speakers to communicate the message of the cross

and offering gospel tracts that also communicate the death, burial and resurrection of the Lord

Jesus Christ. We seek to proclaim the gospel of Jesus Christ dying in the place of sinners and

justifying the ungodly because it is the means by which God saves sinners.

3.      My speech at both events where I was cited and then arrested was on matters of great public

concern locally, nationally, and internationally, including matters pertaining to my sincerely held

religious beliefs and Christianity.

4.      One area where Proclaiming Christ Ministries evangelists have consistently preached over

the last two years has been the Fort Worth Stockyards on Friday or Saturday nights.

5.      I also preach at public events including women’s marches and pride events.

6.      In June of 2022, I attended a number of events and was cited at two of them. One of the

citations led to my subsequent arrest.

7.      At both events, I was directed where to stand by police and used sound amplification

technology.




Declaration of Michael Cody Torres                                                          Page 1
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June 18, 2022 Event

8.      At the first event leading to a citation on June 18, 2022, the police initially permitted me to

use my amplification equipment, but Officer Claudia Alfaro ultimately reversed course and began

to threaten me with citation and arrest unless I discontinued use of sound amplification.

9.      Prior to using sound equipment at the demonstration we had already obtained the Fort

Worth Sound Ordinances and discovered Fort Worth Municipal Code of Ordinances Chapter 23

Sec. 23-8(d)(2)(a.)(1), which regulates loud unnecessary and unusual noise, and noise

disturbances. Attached as Exhibit A-1 Sec. 23-8(d)(2)(a.)(1)

10.     On November 27, 2017, another group of Christians who also preach at events and public

gatherings gave us a copy of the response they received after sending a letter to former Police

Chief Fitzgerald and former City Attorney Sarah Fullenwider expressing concern about the city’s

Noise Ordinance relating to megaphones.

11.     On February 21, 2018, Laetitia Coleman Brown, senior assistant City Attorney and Chief

of the Public Safety section sent a letter to those unnamed Christians assuring them that the City

would not be enforcing the noise amplification provision of the Noise Ordinance and that the City

was working to amend the ordinance. Attached as Exhibit A-2 Letter from City Attorney.

12.     Sec. 23-8(d)(2)(a.)(1) prohibits “use of a bullhorn, loudspeaker or other amplification…in

the public right-of-way and on City of Fort Worth property, unless permitted as an exception”

including (2)(ii) Persons with an outdoor event permit as described in Sec 20-405 of the City code”.

Exhibit A-1

13.     Upon information and belief, the Fort Worth Police Department threatened me at the

direction of Fort Worth City Councilor Elizabeth M. Beck.




Declaration of Michael Cody Torres                                                             Page 2
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                                                                                             Page 28 of 53 PageID

                                                          Fort Worth, TX Code of Ordinances


      § 23­8 NOISE.

         (a) General provisions.
            (1) Scope. This section applies to the control of all sound and noise within the City of Fort Worth.
          (2) Overview. This section is designed to regulate noise by various alternative means in order to allow
      the enforcement of noise regulations at times when and by persons for whom noise meters are not available.
      A noise may be in violation of this section because it is disturbing to a reasonable person of ordinary
      sensibilities or because it exceeds the decibel level restrictions provided below. If a noise violates more than
      one of these provisions, the violation will be enforced under whichever provision is most applicable to the
      situation as determined by the enforcement officer of the city.
         (b) Definitions.
          A­WEIGHTING (dBA). The sound pressure level in decibels as measured on a sound level meter using
      the A­weighted network. The level so read is designated dB(A) or dBA.
         AMBIENT NOISE. The all­encompassing noise level associated with a given environment, being a
      composite of sounds from all sources at the location, constituting the normal or existing level of
      environmental noise at a given location.
          BOUNDING REAL PROPERTY LINE. An imaginary line at the ground and its vertical extension
      which separates the real property owned or occupied by one person from that owned or occupied by another
      person.
            DECIBEL (dBA). The unit of measurement for sound pressure at a specified location.
         GOVERNMENTAL FUNCTION. Work conducted by a governmental entity in the interest of the
      community.
            RESIDENTIAL. Property zoned for residential use in accordance with the city’s zoning ordinance.
         SOUND LEVEL. The instantaneous sound pressure level measured in decibels obtained by the use of a
      sound level meter set for A­weighting on slow integration speed, unless otherwise noted.
            UNREASONABLE NOISE.
           a. Any unreasonably loud, disturbing and unnecessary noise which causes material distress,
      discomfort or injury to persons of ordinary sensibilities in the immediate vicinity thereof; or
            b. Any noise of such character, intensity and continued duration, which substantially interferes with
      the comfortable enjoyment of private homes by persons of ordinary sensibilities.
         (c) Restrictions on decibel levels.
          (1) Maximum sound levels. During the times and in the zoning districts (except for activities
      originating in industrial zoning districts) set out below, the activities that create a sound pressure level on
      the complainant’s bounding real property line that exceeds the maximum allowable sound level (dBA)
      below are declared to be public nuisances:
                a. All residential (one­, two­ and multifamily) zoning districts.



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6/11/2016                                                CHAPTER 23: OFFENSES AND MISCELLANEOUS PROVISIONS

        DaytimeCase7:00
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                        a.m. to 10:00 p.m.Document
                                           = 70 dBA 1 Filed 01/17/23                                        Exhibit29A-1
                                                                                             Page 29 of 53 PageID
        Nighttime 10:00 p.m. to 7:00 a.m. = 60 dBA


          b. All nonresidential and mixed­use zoning districts (excluding industrial zoning districts) outside
      “H” central business district and “TU” Trinity uptown.


        Daytime   7:00 a.m. to 10:00 p.m. = 80 dBA
        Nighttime 10:00 p.m. to 7:00 a.m. = 70 dBA


              c. “H” central business district, “TU” Trinity uptown and West 7th Village (per attached map).


        Sunday through Thursday
                                                         7:00 a.m. to 10:00 p.m. = 80
            Daytime
                                                         dBA
                                                         10:00 p.m. to 7:00 a.m. the
            Nighttime
                                                         following day = 70 dBA
        Friday through Saturday
                                                         7:00 a.m. to 2:00 a.m. the
            Daytime
                                                         following day = 80 dBA
            Nighttime and Sunday                         2:00 a.m. to 7:00 a.m. = 70 dBA


              d. All zoning where ambient noise level exceeds the prescribed maximum level:


        7:00 a.m. to 10:00 p.m. = Existing ambient (dBA) + 3 dBA
        10:00 p.m. to 7:00 a.m. = Existing ambient (dBA)


          (2) Method of noise measurement. Noise measurements shall be a minimum of 30 seconds in duration.
      Decibel levels are measured from the complainant’s property line. For residential districts adjacent to other
      districts (excluding industrial zoning districts), the residential decibel levels apply when measured from a
      residential complainant’s property line. Violations will be determined based on the highest registered
      reading in that measurement period. All measurement levels will be inclusive of any ambient noise that
      exists at the time of the measurement.
         (d) Noise prohibited.
          (1) In addition to the other noise restrictions in this section, no person shall make, cause, suffer, allow
      or permit unreasonable noise in such a manner, or with such volume, intensity or duration, so as to disturb a
      reasonable person of ordinary sensibilities. A decibel level shall not be required for the enforcement of this
      subsection (d).
          (2) This subsection (d) is intended to apply to, but is not limited to, unreasonable noises in the form of
      the following.
            a. 1. Amplifiers in public ROW and on city property. The use of a bullhorn, loudspeaker or other
      amplification is prohibited in the public right­of­way and on City of Fort Worth property, unless permitted
      as an exception below.

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                 2.Case 4:23-cv-00060-O Document 1 Filed 01/17/23
                     Exceptions.                                                                            Exhibit30A-1
                                                                                             Page 30 of 53 PageID

                    i. Public safety official while performing their duties;
                    ii. Persons with an outdoor event permit as described in § 20­405 of the city code; and
                    iii. Persons with permission from pertinent city department director or designee.
            b. Animals. It shall be unlawful to keep, or to permit the keeping of, any dog(s) or rooster(s) or any
      other bird or animal that creates any bark, cry, crow or other sound on a frequent, repetitive or continuous
      basis for ten minutes or longer.
            c. Construction work. Noise created by construction work within 300 feet of an occupied residential
      structure involving the erection, excavation, demolition, alteration or repair of any building, structure or
      flatwork is prohibited as follows:


        Before 7:00 a.m. or after 8:00 p.m.                  Monday—Friday
        Before 9:00 a.m. or after 8:00 p.m.                  Saturday—Sunday


            d. Solid waste collection. Noise created by solid waste haulers within 300 feet of residential zoning
      before 6:00 a.m. or after 11:00 p.m. is prohibited, unless a waiver is granted to the waste hauler by the
      director of code compliance or his or her designee in accordance with the grant of privilege issued by the
      city to the waste hauler.
            e. Music. The playing of any music or musical instrument in such manner or with such volume or
      bass, particularly during the nighttime hours described in subsection (c) above restrictions on decibel levels
      above, as to annoy or disturb the quiet, comfort or repose of persons of ordinary sensibilities in any
      dwelling, hotel or other type of residence.
           f. Horns or other signal devices. The continued or frequent sounding of any horn, air horn or signal
      device on any vehicle except as a danger or warning signal; the creation by means of any such signal device
      of any unreasonably loud or harsh noise for any unnecessary and unreasonable period of time.
           g. Operation of motor vehicles. The revving of any engine, the playing of any music with such
      volume or bass, or the operation of any vehicle so out of repair, so loaded or in such manner as to create
      loud or unnecessary grating, grinding, jarring, rattling or squealing noise or vibrations.
         (e) Exemptions. The following acts and sounds shall be exempt from the requirements of this section:
            (1) Noise generated due to normal building conditioning and ventilation and property maintenance;
            (2) Noise generated on public and school property, as permitted by the property owner;
            (3) Noise generated by an outdoor event that is permitted as described in § 20­405 of the city code;
         (4) Noise generated by amplifiers at entertainment venues having a capacity of 1,000 or more persons
      within “TU” Trinity Uptown;
         (5) Noise generated by any governmental body and its contractors in the performance of a
      governmental function;
            (6) Noise generated by airport, railway and vehicular transportation;
         (7) Noise produced by gas drilling and production, which is regulated by the gas drilling ordinance in
      Chapter 15 of the city code; and
            (8) Noise generated at Texas Motor Speedway.

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6/11/2016                                                CHAPTER 23: OFFENSES AND MISCELLANEOUS PROVISIONS
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        (f) Enforcement.                Document
                         The provisions of            1 shall
                                           this section  Filedbe01/17/23    Page 31
                                                                 enforced primarily byofthe     Exhibit
                                                                                          53police
                                                                                               PageID    A-1 and
                                                                                                        31
                                                                                                   department
      code compliance department.
         (g) Penalties.
            (1) A person commits an offense if the person makes noise in violation of this section.
            (2) An offense under this section is punishable by a fine of not more than $500.
         (3) Each occurrence of a violation, or, in the case of multiple violations, each day a violation occurs or
      continues, constitutes a separate offense and may be punished separately.
          (4) A violation of this section is a nuisance. The prosecution of an offense under this section does not
      limit the city’s right to abate the nuisance, including the use of injunctive or other civil relief.
      (1964 Code, § 27­18) (Ord. 8767, § 1, passed 3­29­1983; Ord. 15608, § 1, passed 7­8­2003; Ord. 20191­
      05­2012, § 1, passed 5­1­2012)




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Case 4:23-cv-00060-O Document 1 Filed 01/17/23   Page 33 of 53 Exhibit
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                                                                       36
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                                                                                             Page 39 of 53 PageID

                                                          Fort Worth, TX Code of Ordinances


      § 23­8 NOISE.

         (a) General provisions.
            (1) Scope. This section applies to the control of all sound and noise within the City of Fort Worth.
          (2) Overview. This section is designed to regulate noise by various alternative means in order to allow
      the enforcement of noise regulations at times when and by persons for whom noise meters are not available.
      A noise may be in violation of this section because it is disturbing to a reasonable person of ordinary
      sensibilities or because it exceeds the decibel level restrictions provided below. If a noise violates more than
      one of these provisions, the violation will be enforced under whichever provision is most applicable to the
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         (b) Definitions.
          A­WEIGHTING (dBA). The sound pressure level in decibels as measured on a sound level meter using
      the A­weighted network. The level so read is designated dB(A) or dBA.
         AMBIENT NOISE. The all­encompassing noise level associated with a given environment, being a
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      environmental noise at a given location.
          BOUNDING REAL PROPERTY LINE. An imaginary line at the ground and its vertical extension
      which separates the real property owned or occupied by one person from that owned or occupied by another
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      community.
            RESIDENTIAL. Property zoned for residential use in accordance with the city’s zoning ordinance.
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      sound level meter set for A­weighting on slow integration speed, unless otherwise noted.
            UNREASONABLE NOISE.
           a. Any unreasonably loud, disturbing and unnecessary noise which causes material distress,
      discomfort or injury to persons of ordinary sensibilities in the immediate vicinity thereof; or
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6/11/2016                                                CHAPTER 23: OFFENSES AND MISCELLANEOUS PROVISIONS

        DaytimeCase7:00
                    4:23-cv-00060-O
                        a.m. to 10:00 p.m.Document
                                           = 70 dBA 1 Filed 01/17/23                                        Exhibit40A-1
                                                                                             Page 40 of 53 PageID
        Nighttime 10:00 p.m. to 7:00 a.m. = 60 dBA


          b. All nonresidential and mixed­use zoning districts (excluding industrial zoning districts) outside
      “H” central business district and “TU” Trinity uptown.


        Daytime   7:00 a.m. to 10:00 p.m. = 80 dBA
        Nighttime 10:00 p.m. to 7:00 a.m. = 70 dBA


              c. “H” central business district, “TU” Trinity uptown and West 7th Village (per attached map).


        Sunday through Thursday
                                                         7:00 a.m. to 10:00 p.m. = 80
            Daytime
                                                         dBA
                                                         10:00 p.m. to 7:00 a.m. the
            Nighttime
                                                         following day = 70 dBA
        Friday through Saturday
                                                         7:00 a.m. to 2:00 a.m. the
            Daytime
                                                         following day = 80 dBA
            Nighttime and Sunday                         2:00 a.m. to 7:00 a.m. = 70 dBA


              d. All zoning where ambient noise level exceeds the prescribed maximum level:


        7:00 a.m. to 10:00 p.m. = Existing ambient (dBA) + 3 dBA
        10:00 p.m. to 7:00 a.m. = Existing ambient (dBA)


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      districts (excluding industrial zoning districts), the residential decibel levels apply when measured from a
      residential complainant’s property line. Violations will be determined based on the highest registered
      reading in that measurement period. All measurement levels will be inclusive of any ambient noise that
      exists at the time of the measurement.
         (d) Noise prohibited.
          (1) In addition to the other noise restrictions in this section, no person shall make, cause, suffer, allow
      or permit unreasonable noise in such a manner, or with such volume, intensity or duration, so as to disturb a
      reasonable person of ordinary sensibilities. A decibel level shall not be required for the enforcement of this
      subsection (d).
          (2) This subsection (d) is intended to apply to, but is not limited to, unreasonable noises in the form of
      the following.
            a. 1. Amplifiers in public ROW and on city property. The use of a bullhorn, loudspeaker or other
      amplification is prohibited in the public right­of­way and on City of Fort Worth property, unless permitted
      as an exception below.

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                 2.Case 4:23-cv-00060-O Document 1 Filed 01/17/23
                     Exceptions.                                                                            Exhibit41A-1
                                                                                             Page 41 of 53 PageID

                    i. Public safety official while performing their duties;
                    ii. Persons with an outdoor event permit as described in § 20­405 of the city code; and
                    iii. Persons with permission from pertinent city department director or designee.
            b. Animals. It shall be unlawful to keep, or to permit the keeping of, any dog(s) or rooster(s) or any
      other bird or animal that creates any bark, cry, crow or other sound on a frequent, repetitive or continuous
      basis for ten minutes or longer.
            c. Construction work. Noise created by construction work within 300 feet of an occupied residential
      structure involving the erection, excavation, demolition, alteration or repair of any building, structure or
      flatwork is prohibited as follows:


        Before 7:00 a.m. or after 8:00 p.m.                  Monday—Friday
        Before 9:00 a.m. or after 8:00 p.m.                  Saturday—Sunday


            d. Solid waste collection. Noise created by solid waste haulers within 300 feet of residential zoning
      before 6:00 a.m. or after 11:00 p.m. is prohibited, unless a waiver is granted to the waste hauler by the
      director of code compliance or his or her designee in accordance with the grant of privilege issued by the
      city to the waste hauler.
            e. Music. The playing of any music or musical instrument in such manner or with such volume or
      bass, particularly during the nighttime hours described in subsection (c) above restrictions on decibel levels
      above, as to annoy or disturb the quiet, comfort or repose of persons of ordinary sensibilities in any
      dwelling, hotel or other type of residence.
           f. Horns or other signal devices. The continued or frequent sounding of any horn, air horn or signal
      device on any vehicle except as a danger or warning signal; the creation by means of any such signal device
      of any unreasonably loud or harsh noise for any unnecessary and unreasonable period of time.
           g. Operation of motor vehicles. The revving of any engine, the playing of any music with such
      volume or bass, or the operation of any vehicle so out of repair, so loaded or in such manner as to create
      loud or unnecessary grating, grinding, jarring, rattling or squealing noise or vibrations.
         (e) Exemptions. The following acts and sounds shall be exempt from the requirements of this section:
            (1) Noise generated due to normal building conditioning and ventilation and property maintenance;
            (2) Noise generated on public and school property, as permitted by the property owner;
            (3) Noise generated by an outdoor event that is permitted as described in § 20­405 of the city code;
         (4) Noise generated by amplifiers at entertainment venues having a capacity of 1,000 or more persons
      within “TU” Trinity Uptown;
         (5) Noise generated by any governmental body and its contractors in the performance of a
      governmental function;
            (6) Noise generated by airport, railway and vehicular transportation;
         (7) Noise produced by gas drilling and production, which is regulated by the gas drilling ordinance in
      Chapter 15 of the city code; and
            (8) Noise generated at Texas Motor Speedway.

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6/11/2016                                                CHAPTER 23: OFFENSES AND MISCELLANEOUS PROVISIONS
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        (f) Enforcement.                Document
                         The provisions of            1 shall
                                           this section  Filedbe01/17/23    Page 42
                                                                 enforced primarily byofthe     Exhibit
                                                                                          53police
                                                                                               PageID    A-1 and
                                                                                                        42
                                                                                                   department
      code compliance department.
         (g) Penalties.
            (1) A person commits an offense if the person makes noise in violation of this section.
            (2) An offense under this section is punishable by a fine of not more than $500.
         (3) Each occurrence of a violation, or, in the case of multiple violations, each day a violation occurs or
      continues, constitutes a separate offense and may be punished separately.
          (4) A violation of this section is a nuisance. The prosecution of an offense under this section does not
      limit the city’s right to abate the nuisance, including the use of injunctive or other civil relief.
      (1964 Code, § 27­18) (Ord. 8767, § 1, passed 3­29­1983; Ord. 15608, § 1, passed 7­8­2003; Ord. 20191­
      05­2012, § 1, passed 5­1­2012)




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